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                        IN THE UNITED STATES DISTRICT COURT
                         FOR THE MIDDLE DISTRICT OF FLORIDA
                                 ORLANDO DIVISION


  U.S. EQUAL EMPLOYMENT                            Civil Action No. ___________________
  OPPORTUNITY COMMISSION,
                                                   COMPLAINT
                         Plaintiff,                AND DEMAND FOR JURY TRIAL

                     -against-                     INJUNCTIVE RELIEF SOUGHT

  PIRTEK USA LLC,

                         Defendant.


        This is an action under the Americans With Disabilities Act, 42 U.S.C. § 12101, et seq.

 (“ADA”), as amended by the Americans With Disabilities Act Amendments Act of 2008

 (“ADAAA”), Pub. L. No. 110-325, 122 Stat. 3553 (2008) (codified as amended in scattered

 sections of 42 U.S.C.), and Title I of the Civil Rights Act of 1991, 42 U.S.C. § 1981a, to correct

 unlawful employment practices on the basis of disability and to provide appropriate relief to

 Charging Party Michael Rossiello (“Rossiello”), who was adversely affected by such practices.

 As alleged with greater specificity below, Defendant Pirtek USA LLC (“Pirtek”) regarded

 Rossiello as disabled and subjected him to discrimination based on disability by terminating

 his employment.

                                 JURISDICTION AND VENUE

        1.      Jurisdiction of this Court is invoked pursuant to 28 U.S.C. §§ 451, 1331, 1337,

 1343, and 1345. This action is authorized and instituted pursuant to Section 107(a) of the ADA,

 42 U.S.C. §12117(a), which incorporates by reference Section 706(f)(1) and (3) of Title VII of
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 the Civil Rights Act of 1964 (“Title VII”), 42 U.S.C. §§ 2000e-5(f)(1) and (3) and pursuant to

 Section 102 of the Civil Rights Act of 1991, 42 U.S.C. § 1981a.

        2.      The employment practices alleged to be unlawful were committed within the

 jurisdiction of the United States District Court for the Middle District of Florida, Orlando

 Division.

                                            PARTIES

        3.      EEOC is the agency of the United States of America charged with the

 administration, interpretation, and enforcement of Title I of the ADA and is expressly

 authorized to bring this action by Section 107(a) of the ADA, 42 U.S.C. § 12117(a), which

 incorporates by reference Section 706(f)(1) of Title VII, 42 U.S.C. § 2000e-5(f)(1).

        4.      Pirtek is a fluid power system company that provides its customers with

 hydraulic and industrial hose replacements.

        5.      At all relevant times, Pirtek has continuously done business in Florida, and has

 continuously had at least 15 employees.

        6.      At all relevant times, Pirtek has continuously been an employer engaged in an

 industry affecting commerce under Section 101(5) of the ADA, § 12111(5), and Section 101(7)

 of the ADA, 42 U.S.C. § 12111(7), which incorporates by reference 42 U.S.C. § 701(b), (g),

 and (h) of Title VII, 42 U.S.C. § 2000e (b), (g), and (h).

        7.      At all relevant times, Pirtek has been a covered entity under Section 101(2) of

 the ADA, 42 U.S.C. § 12111(2).




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                                CONDITIONS PRECEDENT

        8.      More than 30 days prior to the institution of this lawsuit, Rossiello filed a

 Charge of Discrimination with EEOC alleging that Pirtek violated the ADA.

        9.      EEOC issued a Letter of Determination on May 22, 2019, finding reasonable

 cause to believe that the disability discrimination alleged occurred.

        10.     Prior to initiating this lawsuit, EEOC attempted to correct the unlawful

 employment practices alleged herein through informal methods of conciliation, conference,

 and persuasion, to remedy the discriminatory practices and provide appropriate relief.

        11.     All conditions precedent to the institution of this lawsuit have been fulfilled.

                                  STATEMENT OF FACTS

        12.     Rossiello was employed by Pirtek as a Warehouse Specialist from on or about

 January 2, 2006 until Pirtek terminated his employment on or about March 4, 2016.

        13.     Rossiello was based in Pirtek’s hose room at its corporate headquarters located

 in Rockledge, Florida.

        14.     Rossiello was responsible for cutting hydraulic hoses and transporting them

 within Pirtek’s warehouse facility.

        15.     On or about December 26, 2015, Rossiello became seriously ill and was taken

 to the emergency room.

        16.     Rossiello was admitted to the hospital where he was diagnosed with

 pancreatitis, acute respiratory distress syndrome, and pneumonia.




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        17.     Rossiello was on a respirator and in an induced coma for approximately 16 or

 17 days.

        18.     Rossiello remained hospitalized through on or about February 3, 2016.

        19.     During Rossiello’s hospitalization, Pirtek was periodically updated concerning

 Rossiello’s condition.

        20.     Also, during this time, Rossiello’s friend submitted short-term disability

 paperwork to Pirtek on Rossiello’s behalf.

        21.     At the end of January 2016, Rossiello personally contacted Pirtek and spoke

 with Dan Perry (“Perry”), his direct supervisor. Rossiello told Perry that he was doing much

 better, but that he needed rehabilitation due to muscle deterioration from his prolonged

 hospitalization. Perry told Rossiello to do whatever was necessary to get better.

        22.     In February 2016, Rossiello received a call from Oak O’Hara (“O’Hara”),

 Pirtek’s Supply Chain Manager, who oversaw all Warehouse staff. Rossiello advised O’Hara

 that he was feeling better and able to return to work on March 1, 2016.

        23.     Although Rossiello was cleared to return to work without restrictions as of

 March 1, 2016, Pirtek regarded him as disabled and did not allow him to return to work.

        24.     Specifically, O’Hara directed Rossiello to stay out on leave and to exhaust the

 balance of his paid short-term disability leave.

        25.     At the time, Rossiello had approximately three weeks of paid short-term

 disability leave remaining.




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         26.    Based on his conversation with O’Hara, Rossiello expected that he would return

 to work on March 16, 2016, when his paid short-term disability leave would expire.

         27.    Thereafter, on March 4, 2016, prior to Rossiello’s anticipated return to work

 date, O’Hara asked Rossiello to come into the office to discuss his benefits.

         28.    When Rossiello arrived, O’Hara terminated his employment.

         29.    In connection with the termination of Rossiello’s employment, O’Hara advised

 Rossiello that Pirtek did not believe that Rossiello could do the job that he had been hired to

 do.

         30.    Rossiello responded to O’Hara that he could do his job and tried to provide

 O’Hara with his physician’s letter clearing him to return to work without restrictions. O’Hara

 rejected it.

         31.    Rossiello further offered that even if O’Hara did not believe Rossiello could

 perform his job, he could be assigned other tasks. O’Hara rejected Rossiello’s proposal and

 stated that Pirtek was afraid that Rossiello would get injured on the job and receive worker’s

 compensation. He further stated that Rossiello was a “liability.”

         32.    Rossiello has suffered damages as a result of the conduct described herein.

                                 STATEMENT OF CLAIMS

                                           COUNT I

         33.    Paragraphs 12 through 32, above, are fully incorporated herein.

         34.    Pirtek engaged in unlawful employment practices in violation of Section 102(a)

 of the ADA, 42 U.S.C. § 12112(a), as amended by the ADAAA, by subjecting Rossiello to

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 disability discrimination. Specifically, Pirtek discriminated against Rossiello by terminating

 his employment because it regarded him as disabled.

        35.     The effect of the practices complained of in Paragraphs 12 to 32, above, has

 been to deprive Rossiello of equal employment opportunities because Pirtek regarded him as

 disabled.

        36.     The unlawful employment practices complained of in Paragraphs 12 to 32,

 above, were intentionally done with malice and/or reckless indifference to Rossiello’s federally

 protected rights.

                                    PRAYER FOR RELIEF

        WHEREFORE, EEOC respectfully requests that this Court:

        A.      Grant a permanent injunction enjoining Pirtek, its officers, directors, agents,

 managers, supervisors, employees, and all persons in active concert or participation with them,

 from participating in discriminatory conduct based on disability or perceived disability;

        B.      Order Pirtek to institute and carry out policies, practices, and programs which

 provide equal employment opportunities for all employees, including those with a disability or

 perceived disability, and which eradicate the effects of the unlawful employment practices;

        C.      Order Pirtek to make Rossiello whole by providing appropriate back-pay with

 prejudgment interest, in amounts to be determined at trial, and other affirmative relief

 necessary to eradicate the effects of its unlawful employment practices, including, but not

 limited to, reinstatement of Rossiello or front pay in lieu thereof;

        D.      Order Pirtek to make Rossiello whole, by providing compensation for past and

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 future pecuniary and non-pecuniary losses resulting from the unlawful employment practices

 described above, including, but not limited to, emotional pain, suffering, inconvenience, loss

 of enjoyment of life, and humiliation, in amounts to be determined at trial;

        E.       Order Pirtek to pay Rossiello punitive damages for its malicious and reckless

 conduct described above, in amounts to be determined at trial;

        F.       Grant such further relief as the Court deems necessary and proper in the public

 interest; and

        G.       Award EEOC its costs of this action.

                                   JURY TRIAL DEMAND

        EEOC requests a jury trial on all questions of fact raised by its Complaint.


 Dated: September 26, 2019
                                                        U.S. EQUAL EMPLOYMENT
                                                        OPPORTUNITY COMMISSION

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